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UNITED STATES DISTRICT COURT
DISTRICT OF VERMONT

Ruth Amy Moore.                                             Civil Action No. 2 : l \ · C\( ~ 2 ~ ~
Plaintiff,

-against-                                                   COMPLAINT AND DEMAND
                                                            FOR JURY TRIAL

Caledonia Central Supervisory Union,
Danville School
Defendants


                                          COMPLAINT

COMES NOW, Ruth Amy Moore, by and through her attorney, Aaron R. Melville, Esq. to
complain against Defendants, Caledonia Central Supervisory Union and the Danville School, as
follows:

PARTIES AND JURISDICTION:

   1. The plaintiff, Ruth Amy Moore, is an individual residing at 378 Back Bay Road,
       Milbridge, ME 04658 and was a resident of and employed in the State of Vermont while
       employed at the Danville School.
   2. The Defendant, Caledonia Central Supervisory Union ("CCSU"), is located at P.O. Box
       216 Danville, Vermont 05828
   3. The     Defendant,    Danville      School,   1s   located   at    148     Peacham      Road
       Danville, VT 05828
   4. Jurisdiction is invoked under Title I of the Americans with Disabilities Act of 1990, as
       amended, 42 U.S.C. 12111, et seq.

FACTS AND NATURE OF THE CASE:

   5. On May 27, 2008 Ruth Amy Moore accepted a job and signed a contract with the Board
       of the School Directors of Danville to work as a Special Education teacher beginning on
       July 1, 2008 and ending June 30, 2009.
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6. Mrs. Moore has been diagnosed with Post Traumatic Stress Disorder and a Panic
   Disorder relating to her U.S. Military Service.
7. Mrs. Moore's husband, Alfred Moore, was also an educator at the Danville School.
8. Mrs. Moore's daughter S.M. was a student at the Danville School.
9. The above mentioned contract is governed by the "Master Contract between Danville
   Board of School Directors and Danville Education Association Teacher Unit 2007-2010."
10. The Danville School is part of the Caledonia Central Supervisory Union.
11. The Danville School and Caledonia North Supervisory Union are required to follow the
   Americans with Disabilities Act.
12. From the beginning of the school year there were indications that Mrs. Moore was not
   being accepted and supported by employees at the school and that there were
   communication problems with supervisors and colleagues. Much of the communication
   was perceived as hostile by Mrs. Moore in that she reported insubordination by the
   paraeducators assigned to her and received no support from the principal, Meg Powden.
13. Six weeks into the school year, Mrs. Moore wrote a letter to Meg Powden asking for a
   reasonable accommodation. Meg Powden responded "this was the culture in Danville"
   and did not support the accommodation request.
14. Mrs. Moore had a meeting with Carlotta Simons-Perrentoni ("Carlotta") concemmg
   conflicts with Mrs. Moore and some paraeducators. Mrs. Moore asked for Carlotta to
   observe the class and make suggestions on how she could improve and was informed that
   Carlotta did not have time to make an observation.
15. Mrs. Moore attempted to apologize for any perceived miscommunication with Mary
   Cassidy and Emily Clancy. Mary replied, "It's too late, you burned this bridge and you
   won't be here next year."
16. In Mid October Mrs. Moore met with Stan Zajko, Middle School Social Studies Teacher,
   to work on caseloads. He requested more than Mrs. Moore could offer. He implied a
   threat that if Mrs. Moore did not meet his demands that his wife would speak with Mrs.
   Moore's supervisor by stating "my wife is friends with Carlotta." Mrs. Moore had
   several of these run-ins with Zajko.
17. On November 4, 2008 Meg Powden conducted an observation of Mrs. Moore. Two
   weeks later she was given a generally positive review.
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18. On November 11, 2008 Mrs. Moore notified Stan Zajko and School officials in writing
   about items that she felt were harassment towards her.
19. On November 24,2008 Meg Powden again observed Mrs. Moore. Mrs. Moore asked for
   a meeting in Mid December to discuss the second evaluation. Ms. Powden cancelled the
   review and it was never rescheduled.
20. In late November Mrs. Moore began to receive reports from other staff members that
   there were attempts to get Mrs. Moore fired by complaining about her to superiors and
   that she was called a "bitch" by several other staff members.
21. In late November staff members have been reported telling people in the community that
   Mrs. Moore was a bad fit for the school and that she should be fired.
22. In late November Mrs. Moore spoke with Meg Powden and Diane Gilfillan, her faculty
   mentor, about the unprofessionalism and insubordination three para-educators had
   repeatedly shown. Ms. Gilfillan said it was a "witch hunt." A corrective action was
   requested.   Meg Powden stated that she would speak with those involved in the
   unprofessional conduct. No follow-up occurred.
23. In late November Carlotta called Mrs. Moore to her office to meet with a parent. Carlotta
   disciplined Mrs. Moore in front of the parent and challenged her competency. Mrs.
   Moore invited Carlotta to observe Mrs. Moore as a case manager. Carlotta did not
   perform an observation.
24. Mrs. Moore complained about improper discipline to Meg Powden. No action was taken.
25. A third paraeducator was assigned to Mrs. Moore's classroom and informed Mrs. Moore
   in front of the students that she would not perform all of her duties.
26. Mrs. Moore was accused by Carlotta of asking staff to spy on other colleagues. This was
   reported to Meg Powden and it was confirmed by others that Mrs. Moore had not asked
   paraprofessionals to spy on her behalf. Meg said she would handle the situation and
   nothing happened.
27. In Late November 2008 Mr. Zajko confronted Mrs. Moore about an observation she had
   made for a student in his class. He bullied her and used his physical presence to back
   Mrs. Moore into a wall.
28. Mrs. Moore filed a complaint of harassment with Vice-Principal Roger Boyington and
   sent a copy to Mr. Zajko. Mrs. Moore informed Roger and Mr. Zajko that she suffered
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   from PTSD stemming from a rape Mrs. Moore endured while on serving in the military
   and that his actions triggered symptoms.       Ruth indicated concern for her job status
   because of her PTSD and was told by Roger that he had no concerns over the issue, but
   wasn't sure how Meg would "react."
29. On December 20, 2008 Mr. Zajko apologized for his behavior the previous month.
   Relations improved with Mr. Zajko.
30. In January Mrs. Moore had a case management and departmental review with Ms.
   Powden. Ms. Powden appeared pleased with the efforts. No corrective actions were
   suggested and no corrective action plan was given to Mrs. Moore.
31. In January 2009, Carlotta wrote hostile e-mails to Mrs. Moore and shared them with
   members of the team.
32. In February while meeting with Jim Shea, and discussing a student from a broken and
   abusive home, Mr. Shea questioned Mrs. Moore's interpretation of the situation stating,
   "Are you sure you're not letting your disability affect your perceptions of this?"
33. Mrs. Moore was involved with the union to resolve three items in February, including the
   denial of college classes guaranteed by the teaching contract.
34. Mrs. Moore was held to different standards than co-workers with regard to paperwork
   associated with her duties and did not receive required Vermont SpedDoc training.
35. The Special Education Director questioned Mrs. Moore's competency in completing
   paperwork and claimed that Mrs. Moore misrepresented herself and skills in her
   interview for the position. Mrs. Moore explained that Vermont and Maine had different
   interpretations of federal law, and offered documentation to that effect. She then asked
   for formal training or a recommendation of a formal graduate level class to take and learn
   the Vermont Standards. None was provided or recommended.
36. Mrs. Moore made an accommodation request to be allowed to communicate more via e-
   mail to memorialize discussions between staff and superiors. She was told, "that is not
   the culture in Danville" and the request was refused.
37. In March of 2009 staff that were to receive written performance evaluations by Mrs.
   Moore were encouraged by the school principal to seek outside evaluations without
   telling Mrs. Moore. This was not communicated to Mrs. Moore and she felt her role as
   the special education teacher and supervisor to the paraeducators was being undermined.
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   When confronted with this the principal, Meg Powden, denied having given staff
   clearance to go around Mrs. Moore.
38. On March 20, 2009 Mrs. Moore met with Meg Powden to review observations. Meg
   Powden described the progress that had been made, but ultimately decided that Mrs.
   Moore should not be renewed for an additional probationary year citing information
   contained in a secret file she had been keeping on Mrs. Moore in violation of the teaching
   contract that she showed Mrs. Moore at that time and admitted to having to union
   representation at a later date.
39. Mrs. Moore reminded Ms. Powden about her PTSD and the accommodations that had
   been requested. Ms. Powden confirmed that she knew about the PTSD. Mrs. Moore
   continued to explain that she had been working with the health professionals at the
   Veterans Administration to develop solutions and had asked for accommodations. She
   also asked the school to issue a corrective action plan as per the employment contract and
   past practices in lieu of non-renewal in an effort to implement recommendations. Ms.
   Powden refused.
40. Mrs. Moore refused to sign a statement stating that she understood she was not being
   renewed and sought union representation.
41. On March 26, 2009 Mrs. Moore filed a harassment complaint in writing against Lisa
   Farnsworth, who physically assaulted her in her classroom in front of a student.
42. On March 26, 2009 Jonathan Schwartz, MD, Assistant Chief of Mental Health, VA
   Medical Center, wrote a letter detailing one of Mrs. Moore's diagnoses of Post Traumatic
   Stress Disorder ("PTSD"), and outlined specific accommodations that would benefit Mrs.
   Moore.
43. On March 31, 2009 Mrs. Moore was formally notified in writing that her employment
   contract would not be renewed for the following school year by a letter from Martha
   Tucker, the CCSU Superintendent.
44. The letter offered Mrs. Moore a hearing on the matter and stated that Mrs. Moore could
   be represented by counsel.
45. On April 2, 2009 a grievance was filed on behalf of Mrs. Moore by the Danville
   Education Association citing violations committed by the Danville School Board in their
   failure to renew Mrs. Moore's teaching contract.
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46. On April 4, 2009, Mrs. Moore sent a letter to Mr. Keith Gadape, requesting a hearing
   regarding the non-renewal of her contract.
47. On or about April 9, 2009, Mrs. Moore was put on paid administrative leave via letter
   from the Danville School Principal, Meg Powden.
48. While Mrs. Moore was on administrative leave, someone at the school altered student
   records in SpedDoc using Mrs. Moore's account log in, indicating that she was present at
   IEP meetings and filling out the forms. These files were electronically signed with Mrs.
   Moore's name to them without her knowledge or consent.
49. A meeting with Members of the teachers union, the school principal, and Mrs. Moore
   was scheduled to discuss her employment situation for April22, 2009.
50. Mrs. Moore was not mentally able to process information at the time because of acute
   PTSD symptoms brought on by the actions of the Danville School administration.
51. On April 22, 2009, Psychologist Sarah Kohl, wrote a letter to the Danville School
   supporting an accommodation request that Mrs. Moore's husband and/or attorney be
   allowed to assist her in the meeting.
52. Mrs. Moore, her husband, and her attorney showed up to the meeting as scheduled and
   presented the letter from Ms. Kohl and again presented the letter from Dr. Schwartz
   written on March 26, 2009 and asked for an accommodation that Mr. Moore and Mrs.
   Moore's attorney be allowed to assist her in the meeting. The request was denied by Meg
   Powden.
53. Mrs. Moore then asked if just Mr. Moore could assist her in the meeting. Meg Powden
   again denied that request.
54. Mrs. Moore then asked if the meeting could be postponed for 24 hours so that Ms.
   Powden could check with the superintendant and legal counsel to confirm that the request
   for assistance was a reasonable accommodation under the ADA. Ms. Powden again
   denied this accommodation and informed Mrs. Moore, Mr. Moore, and Mrs. Moore's
   attorney that the meeting would take place with or without Mrs. Moore.
55. Mrs. Moore could not stay under those conditions and left.
56. The meeting proceeded without Mrs. Moore.
57. On April 23, 2009, Mrs. Moore received a letter of suspension from Superintendant
   Martha Tucker.
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58. On April 23, 209, Mr. Alfred Moore, wrote a complaint letter to Principal Meg Powden
   regarding several instances of inappropriate treatment of the Moore's daughter S.M. at
   the school.
59. Mr. Moore was also placed on suspension the next day.
60. On April 28, 2009 the school district received a letter from Kevin Cole, M.E.d. from the
   Veterans Medical Hospital that Mrs. Moore was having health problems and he advised
   that she remain on paid administrative leave until further evaluation determined
   otherwise.
61. On April 30, 2009, Mrs. Moore wrote a similar letter to her husband's outlining several
   complaints regarding her daughter's education.
62. On May 20, 2009, Mrs. Moore was removed from administrative leave and placed on
   Medical leave.
63. Mr. Moore was forced to remain on administrative leave for the rest of the school year.
   He was allowed to return to work for the next school year, after which he was informed
   that he would not be renewed for the following year.
64. Mrs. Moore filed a complaint with the Equal Employment Opportunities Commission
   and has received a right to sue letter. A copy is attached to this complaint.

           COUNT 1- CCSU and the Danville School failed to provide a reasonable
                          accommodations for Mrs. Moore.

65. This incorporates paragraphs 1-64
66. Mrs. Moore asked CCSU and the Danville School for several accommodations to allow
   her to engage more effectively with peers and supervisors.
67. The CCSU and the Danville School failed to provide accommodations.
68. The CCSU and the Danville School did not find any undue hardship or claim that the
   accommodation requests were unreasonable.
69. Failure to provide accommodations impacted Mrs. Moore's ability to perform her duties.

       COUT II- CCSU and the Danville School created a hostile work environment.

70. This incorporates paragraphs 1-69 above.
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71. CCSU and the Danville School failed to take actions necessary to respond to claims of
   abuse or harassment made by Mrs. Moore to the administration.
72. Failure to properly enforce harassment procedures lead to a hostile work environment for
   Mrs. Moore.

         COUNT III- CCSU and the Danville School treated Mrs. Moore ditferently in
                      perfOrmance reviews and disciplinary matters.


73. This incorporates paragraphs 1-72 above.
74. CCSU and the Danville School failed to follow established guidelines Mrs. Moore's
   performance reviews that were followed for other employees, including Mrs. Moore's
   husband.
75. CCSU and the Danville School did not make reasonable accommodations for the
   performance reviews.
76. CCSU and the Danville School treated other staff differently than Mrs. Moore m
   handling reviews and disciplinary matters.



    COUNT IV- CCSU and the Danville School discriminated against Mrs. Moore by failing
          to make reasonable accommodations in their termination proceedings.


77. This incorporates paragraphs 1-76 above
78. CCSU and the Danville School failed to make reasonable accommodations as requested
   by medical professionals, Mrs. Moore, and her family at the time her employment status
   was under review.
79. CCSU and the Danville School refused to allow Mrs. Moore to have the assistance of
   family or counsel at meetings as requested by her health care providers at the Veterans
   Administration.
80. The Danville School made no claims of undue hardship or that her requests were
   unreasonable.

   COUNT V- CCSU and the Danville School Engaged in Retaliation against Mrs. Moore.
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   81. This incorporates paragraphs 1-80 above.
   82. Mr. and Mrs. Moore made complaints about potential harassment of their daughter S.M.
       at school.
   83. Mr. Moore assisted Mrs. Moore in her day to day living.
   84. Mr. Moore was present at meetings and advocated for his wife as she was dealing with
       her disability at work.
   85. Mrs. Moore's husband was targeted for investigation by the CCSU and the Danville
       School.
   86. Mr. Moore was also put on administrative leave. The implication was to leave it alone or
       both parties would be fired. These actions constitute illegal retaliation.
   87. The focus on Mr. Moore caused significant concern and hardship on Mrs. Moore and her
       family.



WHEREFORE, Plaintiff requests a trial by jury and demands judgment against Defendant as
follows:

   A) Attorney's fees and costs.

   B) Monetary damages in the amount of $2,600,000.00

   C) Such further relief as this court deems just and proper.
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DATED at St. Johnsbury, Vermont, this ~~ay ofNovember, 2011.



                                                             Aaron R. Melville, Esq.
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                                                             Attorney for Plaintiff




DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that he is the plaintiff in the above action, that
she has read the above complaint and that the information contained therein is true and correct.

Executed at   -t'Jt!.' 'j_J-zj ~~/!. on November .9-d 2011.
                           (Locat n)           (Date)


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